                                        Case 16-19883-RBR                            Doc 18           Filed 08/26/16          Page 1 of 54
 Fill in this information to identify your case and this filing:

 Debtor 1                    Frederick C. Scherf
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Lori Ann Scherf
 (Spouse, if filing)         First Name                             Middle Name                     Last Name

                                                             SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                     DIVISION

 Case number            16-19883-RBR                                                                                                                         Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply


        320 SE 9th Ct
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Pompano Beach                     FL        33060-8822                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $468,980.00                  $468,980.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Homestead
        Broward                                                                    Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $468,980.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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                                  Case 16-19883-RBR                           Doc 18       Filed 08/26/16             Page 2 of 54
 Debtor 1
 Debtor 2         Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if known)     16-19883-RBR

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:       BMW                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      7 Series                                 Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2015                                     Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                 28600          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
        Vin# WBAYE4C51FD138955
                                                              Check if this is community property                             $54,400.00                 $54,400.00
                                                                  (see instructions)



  3.2    Make:       Mercedes-Benz                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      GL-Class                                 Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2014                                     Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
        Vin#4JGDF7CE2EA366927
                                                              Check if this is community property                             $47,025.00                 $47,025.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
   Yes
  4.1    Make:       Edgewater                               Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      265                                      Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2004                                    Debtor 2 only                                            Current value of the      Current value of the
                                                              Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
         2004 Edgewater 265                                   Check if this is community property                            $41,850.00                  $41,850.00
         Vin#DMAO4254F404                                         (see instructions)


  4.2    Make:       Electrcraft                             Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                               Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2002                                     Debtor 2 only                                           Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                   At least one of the debtors and another
         2002 Electracraft                                    Check if this is community property                             $8,500.00                   $8,500.00
         Vin#                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>              $151,775.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
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 Debtor 1
 Debtor 2       Scherf, Frederick C. & Scherf, Lori Ann                                                 Case number (if known)     16-19883-RBR

    Yes.     Describe.....
                                   Living Room (3-13 years old): sofa; loveseat; ottoman; sofa table;
                                   chair; chest; magazine rack; rug, lamp. Dining Room (10 years
                                   old): table; chairs. Kitchen (13 years old): bar stools (2). Sitting
                                   room (13 years old): rug. Master Bedroom (13 years old): bed and
                                   mattress; side table; mirror; dresser. Office (5 years old): desk;
                                   chair. Kids Bedroom (3-14 years old): beds (2); dresser; fish
                                   chest; children's play fort. Patio (5-8 years old): love seat; chaise;
                                   beverage cart.                                                                                                    $8,875.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   Office (2-5 years old): Dell computer and monitor; 29" Samsung
                                   LED TV; fax machine; HP printer; UPS. Living Room (1-12 years
                                   old): 55" plasma TV; Bose 321 audio system; sonos player; apple
                                   TV. Back Porch (2-5 years old): 42" LED Samsung TV; amplifier;
                                   speakers. Master Bedroom (7 years old): Bose radio/clock. DVD
                                   Children's movies (12).                                                                                           $1,699.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
    Yes.     Describe.....
                                   Artwork Giclee "Ballroom" by Edward Gordon in frame. Medium
                                   murano glass fishbowl. Salvador Dali etching framed. Sports
                                   memoriabilia. Oil painting unframed of family vacation.                                                           $3,500.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.     Describe.....
                                   Kids pitching machine and net; golf clubs; miscellaneous
                                   childrens sports equipment; fishing rods and tackle.                                                                 $750.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Christian's clothes and shoes; Lori's clothes, shoes and purses;
                                   children's clothes. (No value except to debtors)                                                                        $0.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.     Describe.....




Official Form 106A/B                                              Schedule A/B: Property                                                                    page 3
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 Debtor 1
 Debtor 2          Scherf, Frederick C. & Scherf, Lori Ann                                                                        Case number (if known)   16-19883-RBR

                                            White gold wedding ring with CZ stone; white gold and diamond
                                            wedding band; men's brietling watch; men's longiness watch;
                                            women's tag huer watch; women's emerald ring; diamond
                                            earrings; miscellaneous gold and silver jewelry; costume jewelry.                                                           $12,800.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes.        Give specific information.....
                                            Craft supplies; tools; bikes (2 adult beach cruisers); bikes (2
                                            children's); books; lawn equipment.                                                                                          $1,100.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                  $28,724.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                       Cash                                $250.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

                                                                                                Fidelity Investments Checking ending in
                                              17.1.      Checking Account                       3254                                                                       $473.56

                                                                                                Fidelity Investments Cash-Account number
                                              17.2.      Checking Account                       ending in 3313 and 9334                                                       $8.28



                                              17.3.      Checking Account                       USAA acct# 2485                                                              $12.08



                                              17.4.      Savings Account                        USAA Savings acct#8341-2                                                     $20.08



                                              17.5.      Checking Account                       Suntrust Checking acct#2861                                                   $0.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:


Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 4
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 Debtor 1
 Debtor 2        Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if known)    16-19883-RBR

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                   Institution name:
                                        IRA                                USAA Roth IRA                                                                  $14.47


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......
Official Form 106A/B                                                  Schedule A/B: Property                                                                page 5
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 Debtor 1
 Debtor 2        Scherf, Frederick C. & Scherf, Lori Ann                                                                    Case number (if known)         16-19883-RBR



30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:
                                           USAA Life Insurance Company #5357                                     Lori Ann Scherf                                       $500,000.00

                                           USAA Life Insurance Company# 6638                                     Frederick Scherf                                      $500,000.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................         $1,000,778.47

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 6
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 Debtor 1
 Debtor 2         Scherf, Frederick C. & Scherf, Lori Ann                                                                               Case number (if known)   16-19883-RBR

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $468,980.00
 56. Part 2: Total vehicles, line 5                                                                        $151,775.00
 57. Part 3: Total personal and household items, line 15                                                    $28,724.00
 58. Part 4: Total financial assets, line 36                                                             $1,000,778.47
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61...                                                 $1,181,277.47                Copy personal property total       $1,181,277.47

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $1,650,257.47




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
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 Fill in this information to identify your case:

 Debtor 1                Frederick C. Scherf
                         First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

 Debtor 1 Exemptions
                                                                                                                                 Fla. Const. Art. X, §4(a)(1);
      320 SE 9th Ct
                                                                  $468,980.00                                 $468,980.00
                                                                                                                                 Fla. Stat.§§ 222.01, 222.02
      Pompano Beach FL, 33060-8822                                                          100% of fair market value, up to
      County : Broward                                                                       any applicable statutory limit
      Line from Schedule A/B: 1.1

      Christian's clothes and shoes; Lori's                               $0.00                                                 Fla. Const. Art X, § 4(a)(2)
      clothes, shoes and purses;
      children's clothes. (No value except                                                  100% of fair market value, up to
      to debtors)                                                                            any applicable statutory limit
      Line from Schedule A/B: 11.1

      USAA Life Insurance Company                                                                                                Fla. Stat. § 222.13
      #5357
                                                                  $500,000.00                                 $500,000.00
      Line from Schedule A/B: 31.1                                                          100% of fair market value, up to
                                                                                             any applicable statutory limit

      USAA Life Insurance Company#                                                                                               Fla. Stat. § 222.13
      6638
                                                                  $500,000.00                                 $500,000.00
      Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 3
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
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 Fill in this information to identify your case:

 Debtor 1
                             First Name                   Middle Name                      Last Name

 Debtor 2                    Lori Ann Scherf
 (Spouse if, filing)         First Name                   Middle Name                      Last Name

                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number            16-19883-RBR
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                        
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 3 of 3
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
                                     Case 16-19883-RBR                      Doc 18           Filed 08/26/16              Page 11 of 54
 Fill in this information to identify your case:

 Debtor 1                   Frederick C. Scherf
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Lori Ann Scherf
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

                                                     SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:             DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Allsteel & Gypsum
 2.1                                              Describe the property that secures the claim:                  $8,612.16             $468,980.00             $8,612.16
         Products, Inc.
         Creditor's Name
                                                  320 SE 9th Ct, Pompano Beach, FL
                                                  33060-8822
         1250 NW 23rd Ave                         As of the date you file, the claim is: Check all that
         Fort Lauderdale, FL                      apply.
         33311-5243                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        0202


 2.2
         Banaszak Concrete
         Corp.                                    Describe the property that secures the claim:                 $19,021.51             $468,980.00            $19,021.51
         Creditor's Name
                                                  320 SE 9th Ct, Pompano Beach, FL
                                                  33060-8822
                                                  As of the date you file, the claim is: Check all that
         2401 College Ave                         apply.
         Davie, FL 33317-7402                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Business Debt- Lien
       community debt


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 6
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 Debtor 1 Frederick C. Scherf                                                                              Case number (if know)   16-19883-RBR
              First Name                  Middle Name                     Last Name
 Debtor 2 Lori Ann Scherf
              First Name                  Middle Name                     Last Name


 Date debt was incurred                                     Last 4 digits of account number        0926

 2.3    Cousins Air, Inc.                          Describe the property that secures the claim:                 $21,500.00         $468,980.00   $21,500.00
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        1001 W Newport Center
                                                   As of the date you file, the claim is: Check all that
        Dr Ste 109                                 apply.
        Deerfield Beach, FL                         Contingent
        33442-7735
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt- Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number        6035

 2.4    Ditech Financial, LLC                      Describe the property that secures the claim:                $537,911.00         $468,980.00   $68,931.00
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        501 N Plano Rd Ste 100                     As of the date you file, the claim is: Check all that
        Richardson, TX                             apply.
        75081-2940                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        4108


 2.5
        Jones Lumber- US LBM,
        LLC                                        Describe the property that secures the claim:                 $11,908.61         $468,980.00   $11,908.61
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        4500 Oak Cir                               As of the date you file, the claim is: Check all that
        Boca Raton, FL                             apply.
        33431-4212                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt- Lien
       community debt



Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 6
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 Debtor 1 Frederick C. Scherf                                                                              Case number (if know)   16-19883-RBR
              First Name                  Middle Name                     Last Name
 Debtor 2 Lori Ann Scherf
              First Name                  Middle Name                     Last Name


 Date debt was incurred         11/09/2015                  Last 4 digits of account number        5474

 2.6    Live Wire Electric, Inc.                   Describe the property that secures the claim:                   $3,639.92        $468,980.00    $3,639.92
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        4024 NE 5th Ave                            As of the date you file, the claim is: Check all that
        Oakland Park, FL                           apply.
        33334-2202                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt-Lien
       community debt

 Date debt was incurred         04/22/2015                  Last 4 digits of account number        0566

 2.7    M&T Bank                                   Describe the property that secures the claim:                 $37,882.21          $41,850.00        $0.00
        Creditor's Name
                                                   2004 Edgewater 265
                                                   2004 Edgewater 265
                                                   Vin#DMAO4254F404
        PO Box 900                                 As of the date you file, the claim is: Check all that
        Millsboro, DE                              apply.
        19966-0900                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                         car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     BOAT
       community debt

 Date debt was incurred                                     Last 4 digits of account number        0001

        Millennium Makeover,
 2.8                                               Describe the property that secures the claim:                 $30,900.60         $468,980.00   $30,900.60
        Inc.
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        4881 Canal Dr                              As of the date you file, the claim is: Check all that
        Lake Worth, FL                             apply.
        33463-8161                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt-Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number        9750
Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 6
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 Debtor 1 Frederick C. Scherf                                                                              Case number (if know)   16-19883-RBR
              First Name                  Middle Name                     Last Name
 Debtor 2 Lori Ann Scherf
              First Name                  Middle Name                     Last Name




        Ocwen Loan Servicing,
 2.9                                               Describe the property that secures the claim:                $435,976.66         $468,980.00   $435,976.66
        LLC
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        1661 Worthington Rd Ste
                                                   As of the date you file, the claim is: Check all that
        100                                        apply.
        West Palm Beach, FL                         Contingent
        33409-6493
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Second Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number        9886

 2.1
 0      RSG-BEACON                                 Describe the property that secures the claim:                   $9,106.11        $468,980.00     $9,106.11
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        1600 W New Hampshire                       As of the date you file, the claim is: Check all that
        St                                         apply.
        Orlando, FL 32804-6002                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt- Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number        5819

 2.1    Stuart Building
 1      Products, LLC.                             Describe the property that secures the claim:                   $4,686.28        $468,980.00     $4,686.28
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        1341 NW 15th St                            As of the date you file, the claim is: Check all that
        Pompano Beach, FL                          apply.
        33069-1728                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt- Lien
       community debt


Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 6
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 Debtor 1 Frederick C. Scherf                                                                               Case number (if know)          16-19883-RBR
              First Name                  Middle Name                     Last Name
 Debtor 2 Lori Ann Scherf
              First Name                  Middle Name                     Last Name


 Date debt was incurred                                     Last 4 digits of account number        2406

 2.1
 2      Suntrust                                   Describe the property that secures the claim:                   $63,684.00                 $47,025.00          $16,659.00
        Creditor's Name
                                                   2014 Mercedes-Benz GL-Class
                                                   GL450 4MATIC 4dr SUV AWD (4.7L
                                                   8cyl Turbo 7A)
                                                   Vin#4JGDF7CE2EA366927
        PO Box 85024                               As of the date you file, the claim is: Check all that
        Richmond, VA                               apply.
        23285-5024                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Auto Loan
       community debt

 Date debt was incurred                                     Last 4 digits of account number        6780

 2.1    Tom Krips Construction,
 3      Inc.                                       Describe the property that secures the claim:                  $219,150.00                $468,980.00         $219,150.00
        Creditor's Name
                                                   320 SE 9th Ct, Pompano Beach, FL
                                                   33060-8822
        2901 Ravenswood Rd                         As of the date you file, the claim is: Check all that
        Fort Lauderdale, FL                        apply.
        33312-4921                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Business Debt-Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number        0791


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $1,403,979.06
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $1,403,979.06

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.10
         David McMillion
         4881 Canal Dr                                                                              Last 4 digits of account number   5819
         Lake Worth, FL 33463-8161



Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                  page 5 of 6
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 Debtor 1 Frederick C. Scherf                                                             Case number (if know)          16-19883-RBR
             First Name                Middle Name                Last Name
 Debtor 2 Lori Ann Scherf
             First Name                Middle Name                Last Name



        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.2
        Mark F. Butler, Esq.
        1720 Harrison St Ste 1805                                                 Last 4 digits of account number   0926
        Hollywood, FL 33020-6828




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                               page 6 of 6
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 Fill in this information to identify your case:

 Debtor 1                   Frederick C. Scherf
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Lori Ann Scherf
 (Spouse if, filing)        First Name                       Middle Name                      Last Name

                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Broward County Tax Collector                         Last 4 digits of account number         8597               $3,913.38            $3,913.38                    $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              115 S Andrews Ave
              Fort Lauderdale, FL 33301-1818
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
         Debtor 1 only                                             Unliquidated
         Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 14
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 Debtor 1
 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                           Case number (if know)          16-19883-RBR

 2.2        Property Tax Consultants, Ltd.                        Last 4 digits of account number       0960                  $959.81                $959.81                   $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?
            1484 E Hallandale Beach Blvd
            Hallandale, FL 33009-4617
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          Taxes owed

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        American Express                                         Last 4 digits of account number         7961                                                     $24,055.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            PO Box 981537
            El Paso, TX 79998-1537
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
            Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 14
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 Debtor 1
 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if know)            16-19883-RBR

 4.2      Associated Credit Services, Inc.                        Last 4 digits of account number       0773                                            $575.12
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 5171
          Westborough, MA 01581-5171
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection


 4.3      Barclays Bank Delaware                                  Last 4 digits of account number       1349                                           $4,142.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           09/04/2014
          PO Box 8803
          Wilmington, DE 19899-8803
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card


 4.4      Barclays Bank Delaware                                  Last 4 digits of account number       3193                                           $8,704.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           11/29/2014
          PO Box 8803
          Wilmington, DE 19899-8803
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card




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 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if know)            16-19883-RBR

 4.5      BMW Card Services                                       Last 4 digits of account number       2436                                             $788.42
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 660545
          Dallas, TX 75266-0545
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card


 4.6      BMW Group Financial Service                             Last 4 digits of account number       1217                                           $46,791.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 3608
          Dublin, OH 43016-0306
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Auto Lease


 4.7      Brian P. Rask, DMD PA                                   Last 4 digits of account number       5659                                             $245.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1 NE 23rd Ave Ste 2
          Pompano Beach, FL 33062-5247
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.8      Capital One Bank USA                                    Last 4 digits of account number       0515                                            $454.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           02/19/2007
          PO Box 30281
          Salt Lake City, UT 84130-0281
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card


 4.9      CashCall                                                Last 4 digits of account number       150                                            $4,108.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           05/27/2007
          PO Box 66007
          Anaheim, CA 92816-6007
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Note Loan


 4.10     Clearlyderm                                             Last 4 digits of account number       0705                                             $60.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7050 W Palmetto Park Rd
          Boca Raton, FL 33433-3426
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.11     Convergent Outsourcing                                  Last 4 digits of account number       2127                                           $1,011.89
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 9004
          Renton, WA 98057-9004
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection


 4.12     Delta Sky Miles/ American Express                       Last 4 digits of account number       1000                                           $4,491.44
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 650448
          Dallas, TX 75265-0448
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card


 4.13     ElectraCraft Power Boats                                Last 4 digits of account number       0212                                           $1,876.89
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3550 Harbor Blvd # 2
          Oxnard, CA 93035-4179
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection




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 4.14     Holly Cross Hospital                                    Last 4 digits of account number       8265                                            $306.85
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           04/04/2016
          PO Box 23460
          Fort Lauderdale, FL 33307-3460
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.15     Holly Cross Hospital                                    Last 4 digits of account number       3HCH                                            $125.73
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           12/21/2015
          PO Box 23460
          Fort Lauderdale, FL 33307-3460
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


          Holy Cross Emergency Physicians,
 4.16     PA                                                      Last 4 digits of account number       5HCH                                             $29.80
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 277423
          Atlanta, GA 30384-7423
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.17     Innovative Health & Wellness                            Last 4 digits of account number       2848                                            $168.16
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          729 E Atlantic Blvd
          Pompano Beach, FL 33060-6345
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.18     Innovative Health & Wellness                            Last 4 digits of account number       3584                                            $111.04
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          729 E Atlantic Blvd
          Pompano Beach, FL 33060-6345
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.19     Innovative Health & Wellness                            Last 4 digits of account number       4998                                            $279.20
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          729 E Atlantic Blvd
          Pompano Beach, FL 33060-6345
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.20     MD Now Medical Centers                                  Last 4 digits of account number       3095                                             $61.33
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2007 Palm Beach Lakes Blvd
          West Palm Beach, FL 33409-6501
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.21     MosquitoNix SE Florida                                  Last 4 digits of account number       1620                                             $44.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           05/21/2016
          PO Box 802623
          Dallas, TX 75380-2623
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection


 4.22     MosquitoNix SE Florida                                  Last 4 digits of account number       2314                                             $89.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           06/04/2016
          PO Box 802623
          Dallas, TX 75380-2623
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Colection Account




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 4.23     MosquitoNix SE Florida                                  Last 4 digits of account number       2872                                             $89.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 802623
          Dallas, TX 75380-2623
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection


 4.24     MosquitoNix SE Florida                                  Last 4 digits of account number       3445                                             $89.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           07/11/2016
          PO Box 802623
          Dallas, TX 75380-2623
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection


 4.25     MosquitoNix SE Florida                                  Last 4 digits of account number       3927                                             $89.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           07/16/2016
          PO Box 802623
          Dallas, TX 75380-2623
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collection




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 4.26     Patrick B. Arnold, MD                                   Last 4 digits of account number                                                          $0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4800 NE 20th Ter Ste 205
          Fort Lauderdale, FL 33308-4510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.27     Pompano Beach Chiropractice                             Last 4 digits of account number       0804                                            $145.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4 NE 4th Ave
          Pompano Beach, FL 33060-6630
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.28     Riverview Community Bank                                Last 4 digits of account number       6571                                           $8,036.32
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 790408
          Saint Louis, MO 63179-0408
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 14
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 Debtor 1
 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if know)            16-19883-RBR

 4.29     SO Florida Medical Imaging, PA                          Last 4 digits of account number       8265                                              $61.31
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 11398
          Fort Lauderdale, FL 33339-1398
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.30     Solantic of South Florida, LLC                          Last 4 digits of account number       9663                                             $106.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 404978
          Atlanta, GA 30384-4978
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.31     US Treasury-Fncl Mgmt                                   Last 4 digits of account number       0111                                           $57,575.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           04/28/2015
          PO Box 830794
          Birmingham, AL 35283-0794
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
          Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Unsecured Loan- Goverment




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 14
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 Debtor 1
 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if know)            16-19883-RBR

 4.32      USAA Savings Bank                                      Last 4 digits of account number       0049                                               $7,099.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           11/23/2015
           10750 McDermott Fwy
           San Antonio, TX 78288-0002
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      Credit Card


 4.33      USAA Savings Bank                                      Last 4 digits of account number       2408                                              $10,201.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           07/30/2014
           10750 McDermott Fwy
           San Antonio, TX 78288-0002
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      Credit Card


 4.34      Voss & Klein, LL                                       Last 4 digits of account number       4394                                                  $350.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           49 N Federal Hwy Ste 316
           Pompano Beach, FL 33062-4304
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      Collection

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 14
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 Debtor 1
 Debtor 2 Scherf, Frederick C. & Scherf, Lori Ann                                                          Case number (if know)       16-19883-RBR
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Modlin & Associates, P.A.                                   Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1551 Sawgrass Corporate Pkwy Ste                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 110
 Sunrise, FL 33323-2832
                                                             Last 4 digits of account number                      7961
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Regions Bank                                                Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2050 Parkway Office Cir                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Birmingham, AL 35244-1805
                                                             Last 4 digits of account number                      2127
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Suntrust                                                    Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 85024                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23285-5024
                                                             Last 4 digits of account number                      0773
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 The Boat Works                                              Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2251 Townsgate Rd                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Westlake Village, CA 91361-2404
                                                             Last 4 digits of account number                      0212

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                    4,873.19
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                    4,873.19

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $                 182,358.50

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                 182,358.50




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 14 of 14
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 Fill in this information to identify your case:

 Debtor 1                Frederick C. Scherf
                         First Name                         Middle Name            Last Name

 Debtor 2                Lori Ann Scherf
 (Spouse if, filing)     First Name                         Middle Name            Last Name

                                                     SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:             DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      BMW Group Financial Services                                              Auto Lease for 2015 BMW 740li
              PO Box 3608
              Dublin, OH 43016-0306




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Frederick C. Scherf
                            First Name                           Middle Name            Last Name

 Debtor 2                   Lori Ann Scherf
 (Spouse if, filing)        First Name                           Middle Name            Last Name

                                                         SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                 DIVISION

 Case number            16-19883-RBR
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                          ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                          ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Frederick C. Scherf

Debtor 2                      Lori Ann Scherf
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA, FORT
                                              LAUDERDALE DIVISION

Case number               16-19883-RBR                                                                     Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation              Owner
       Include part-time, seasonal, or
       self-employed work.                                           Pinnacle Construction Group,
                                             Employer's name         Inc.
       Occupation may include student or
       homemaker, if it applies.         Employer's address
                                                                     10368 W State Road 84
                                                                     Davie, FL 33324-4241

                                             How long employed there?           3 years and 6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         7,916.67        $             0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      7,916.67               $      0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    Scherf, Frederick C. & Scherf, Lori Ann                                                 Case number (if known)    16-19883-RBR


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $      7,916.67         $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          7,916.67         $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
      8e.    Social Security                                                                 8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            7,916.67 + $             0.00 = $           7,916.67
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $           7,916.67
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                           page 2
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Fill in this information to identify your case:

Debtor 1                Frederick C. Scherf                                                                  Check if this is:
                                                                                                              An amended filing
Debtor 2                Lori Ann Scherf                                                                       A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA, FORT                                         MM / DD / YYYY
                                          LAUDERDALE DIVISION

Case number           16-19883-RBR
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s     Does dependent
                                                                                                                                       live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            Son                                  6              Yes
                                                                                                                                        No
                                                                                   Daughter                             4              Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                             0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                           0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                           0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                           0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                           0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1
Debtor 2     Scherf, Frederick C. & Scherf, Lori Ann                                                   Case number (if known)       16-19883-RBR

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              205.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               160.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              288.00
      6d. Other. Specify: Cell                                                                 6d. $                                               127.00
7.    Food and housekeeping supplies                                                             7. $                                              600.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              150.00
10.   Personal care products and services                                                      10. $                                               150.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                75.00
      15b. Health insurance                                                                   15b. $                                               218.00
      15c. Vehicle insurance                                                                  15c. $                                               435.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,658.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,658.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               7,916.67
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,658.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               5,258.67

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Frederick C. Scherf
                            First Name            Middle Name              Last Name

Debtor 2                    Lori Ann Scherf
(Spouse if, filing)         First Name            Middle Name              Last Name


                                              SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
United States Bankruptcy Court for the:       DIVISION

Case number              16-19883-RBR
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Frederick C. Scherf                                           X   /s/ Lori Ann Scherf
             Frederick C. Scherf                                               Lori Ann Scherf
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       August 26, 2016                                        Date    August 26, 2016
                                     Case 16-19883-RBR                              Doc 18             Filed 08/26/16                    Page 38 of 54
 Fill in this information to identify your case:

 Debtor 1                   Frederick C. Scherf
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Lori Ann Scherf
 (Spouse if, filing)        First Name                           Middle Name                          Last Name

                                                          SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                  DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             468,980.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $          1,181,277.47

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          1,650,257.47

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $          1,403,979.06

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                4,873.19

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             182,358.50


                                                                                                                                     Your total liabilities $                1,591,210.75


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                7,916.67

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,658.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.



 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1
 Debtor 2     Scherf, Frederick C. & Scherf, Lori Ann                                 Case number (if known) 16-19883-RBR
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
             court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       10,316.67


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              4,873.19

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 4,873.19




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                 Frederick C. Scherf
                          First Name                      Middle Name                    Last Name

 Debtor 2                 Lori Ann Scherf
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number           16-19883-RBR
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until              Wages, commissions,                        $57,079.43         Wages, commissions,                             $0.00
 the date you filed for bankruptcy:               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 1

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 Debtor 1
 Debtor 2     Scherf, Frederick C. & Scherf, Lori Ann                                                     Case number (if known)   16-19883-RBR


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For last calendar year:                          Wages, commissions,                                $0.00       Wages, commissions,                        $0.00
 (January 1 to December 31, 2015 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                                $0.00       Wages, commissions,                        $0.00
 (January 1 to December 31, 2014 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)
 From January 1 of current year until                                                                 $0.00      Emergency Grant                       $10,060.00
 the date you filed for bankruptcy:                                                                              from Kappa Kappa
                                                                                                                 Gamma Foundation


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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 Debtor 1
 Debtor 2     Scherf, Frederick C. & Scherf, Lori Ann                                                     Case number (if known)   16-19883-RBR


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case       Court or agency                         Status of the case
       Case number
       American Express Centurion                                 Contract and             Broward County Clerk of                  Pending
       Bank, Corp                                                 Indebtedness             Court                                      On appeal
       vs                                                                                  201 SE 6th St
                                                                                                                                      Concluded
       Lori A. Scherf                                                                      Fort Lauderdale, FL
       CACE15-017961                                                                       33301-3303

       CAN CAPITAL ASSET SERVICING,                               Contract and             Broward County Clerk of                  Pending
       INC.                                                       Indebtedness             Court                                      On appeal
       vs.                                                                                 201 SE 6th St                              Concluded
       FREDERICK SCHERF                                                                    Fort Lauderdale, FL
       CACE16-010916                                                                       33301-3303

       IVORY AT BAY HARBOR, LLC                                                            Miami Dade Clerk of Court                  Pending
       vs.                                                                                                                            On appeal
       FREDERICK CHRISTIAN SCHERF                                                                                                     Concluded
       2016-CA-010058

       Tom Krips Construction, Inc.                                                        Broward County Clerk of                  Pending
       vs                                                                                  Court                                      On appeal
       Frederick Christian Scherf and                                                      201 SE 6th St
                                                                                                                                      Concluded
       Lori Ann Scherf                                                                     Fort Lauderdale, FL
       CACE16-007756                                                                       33301-3303


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                     Date                        Value of the
                                                                                                                                                           property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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 Debtor 2     Scherf, Frederick C. & Scherf, Lori Ann                                                      Case number (if known)   16-19883-RBR


      accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                      Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Van Horn Law Group, P.A.                                       Attorney fees ($3,500.00); filing fees                 7/15/2016               $4,060.00
       330 N Andrews Ave Ste 450                                      and costs ($560.00)
       Fort Lauderdale, FL 33301-1012




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4

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 Debtor 2      Scherf, Frederick C. & Scherf, Lori Ann                                                       Case number (if known)   16-19883-RBR


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment or            Amount of
       Address                                                        transferred                                             transfer was                payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                   Describe any property or       Date transfer was
       Address                                                        property transferred                       payments received or debts     made
                                                                                                                 paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of           Type of account or          Date account was       Last balance before
       Address (Number, Street, City, State and ZIP               account number             instrument                  closed, sold,           closing or transfer
       Code)                                                                                                             moved, or
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                         have it?
                                                                      and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                       have it?
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for




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      someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                   Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and       know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                   Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and       know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                    Status of the
       Case Number                                                    Name                                                                             case
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                              Describe the nature of the business                 Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                 Name of accountant or bookkeeper
                                                                                                                      Dates business existed
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        Business Name                                             Describe the nature of the business          Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                               Dates business existed
        Pinnacle Construction Group, Inc.                         Construction                                 EIN:         XX-XXXXXXX
        10368 W State Road 84
        Davie, FL 33324-4241                                                                                   From-To      2/2/2012- present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Frederick C. Scherf                                                  /s/ Lori Ann Scherf
 Frederick C. Scherf                                                      Lori Ann Scherf
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      August 26, 2016                                                Date    August 26, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                                                                                                             United States Bankruptcy Court
                                                                                                    Southern District of Florida, Fort Lauderdale Division

                                                                   IN RE:                                                                                  Case No. 16-19883-RBR
                                                                   Scherf, Frederick C. & Scherf, Lori Ann                                                 Chapter 13
                                                                                                             Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: August 26, 2016                  Signature: /s/ Frederick C. Scherf
                                                                                                                         Frederick C. Scherf                                                   Debtor



                                                                   Date: August 26, 2016                  Signature: /s/ Lori Ann Scherf
                                                                                                                         Lori Ann Scherf                                           Joint Debtor, if any
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Allsteel & Gypsum Products, Inc.
1250 NW 23rd Ave
Fort Lauderdale, FL 33311-5243


American Express
PO Box 981537
El Paso, TX 79998-1537


Associated Credit Services, Inc.
PO Box 5171
Westborough, MA 01581-5171


Banaszak Concrete Corp.
2401 College Ave
Davie, FL 33317-7402


Barclays Bank Delaware
PO Box 8803
Wilmington, DE 19899-8803


BMW Card Services
PO Box 660545
Dallas, TX 75266-0545


BMW Group Financial Service
PO Box 3608
Dublin, OH 43016-0306
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BMW Group Financial Services
PO Box 3608
Dublin, OH 43016-0306


Brian P. Rask, DMD PA
1 NE 23rd Ave Ste 2
Pompano Beach, FL 33062-5247


Broward County Tax Collector
115 S Andrews Ave
Fort Lauderdale, FL 33301-1818


Capital One Bank USA
PO Box 30281
Salt Lake City, UT 84130-0281


CashCall
PO Box 66007
Anaheim, CA 92816-6007


Clearlyderm
7050 W Palmetto Park Rd
Boca Raton, FL 33433-3426


Convergent Outsourcing
PO Box 9004
Renton, WA 98057-9004
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Cousins Air, Inc.
1001 W Newport Center Dr Ste 109
Deerfield Beach, FL 33442-7735


David McMillion
4881 Canal Dr
Lake Worth, FL 33463-8161


Delta Sky Miles/ American Express
PO Box 650448
Dallas, TX 75265-0448


Ditech Financial, LLC
501 N Plano Rd Ste 100
Richardson, TX 75081-2940


ElectraCraft Power Boats
3550 Harbor Blvd # 2
Oxnard, CA 93035-4179


Holly Cross Hospital
PO Box 23460
Fort Lauderdale, FL 33307-3460


Holy Cross Emergency Physicians, PA
PO Box 277423
Atlanta, GA 30384-7423
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Innovative Health & Wellness
729 E Atlantic Blvd
Pompano Beach, FL 33060-6345


Internal Revenue Services
PO Box 7346
Philadelphia, PA 19101-7346


Jones Lumber- US LBM, LLC
4500 Oak Cir
Boca Raton, FL 33431-4212


Live Wire Electric, Inc.
4024 NE 5th Ave
Oakland Park, FL 33334-2202


M&T Bank
PO Box 900
Millsboro, DE   19966-0900


Mark F. Butler, Esq.
1720 Harrison St Ste 1805
Hollywood, FL 33020-6828


MD Now Medical Centers
2007 Palm Beach Lakes Blvd
West Palm Beach, FL 33409-6501
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Millennium Makeover, Inc.
4881 Canal Dr
Lake Worth, FL 33463-8161


Modlin & Associates, P.A.
1551 Sawgrass Corporate Pkwy Ste 110
Sunrise, FL 33323-2832


MosquitoNix SE Florida
PO Box 802623
Dallas, TX 75380-2623


Ocwen Loan Servicing, LLC
1661 Worthington Rd Ste 100
West Palm Beach, FL 33409-6493


Patrick B. Arnold, MD
4800 NE 20th Ter Ste 205
Fort Lauderdale, FL 33308-4510


Pompano Beach Chiropractice
4 NE 4th Ave
Pompano Beach, FL 33060-6630


Property Tax Consultants, Ltd.
1484 E Hallandale Beach Blvd
Hallandale, FL 33009-4617
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Regions Bank
2050 Parkway Office Cir
Birmingham, AL 35244-1805


Riverview Community Bank
PO Box 790408
Saint Louis, MO 63179-0408


RSG-BEACON
1600 W New Hampshire St
Orlando, FL 32804-6002


SO Florida Medical Imaging, PA
PO Box 11398
Fort Lauderdale, FL 33339-1398


Solantic of South Florida, LLC
PO Box 404978
Atlanta, GA 30384-4978


Stuart Building Products, LLC.
1341 NW 15th St
Pompano Beach, FL 33069-1728


Suntrust
PO Box 85024
Richmond, VA   23285-5024
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The Boat Works
2251 Townsgate Rd
Westlake Village, CA   91361-2404


Tom Krips Construction, Inc.
2901 Ravenswood Rd
Fort Lauderdale, FL 33312-4921


US Treasury-Fncl Mgmt
PO Box 830794
Birmingham, AL 35283-0794


USAA Savings Bank
10750 McDermott Fwy
San Antonio, TX 78288-0002


Voss & Klein, LL
49 N Federal Hwy Ste 316
Pompano Beach, FL 33062-4304
